                      IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                             Civil Action No. 3:15-cv-628-RJC-DSC


HARRY CANTY, JR.,                             )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )
                                              )
DUKE ENERGY CAROLINAS, LLC,                   )
                                              )
                  Defendant.                  )
___________________________________

                  JOINT STIPULATION OF VOLUNTARY DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

respective counsels, that the above-captioned action is voluntarily dismissed against Defendant

Duke Energy Carolinas, LLC, pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii). By

further agreement and stipulation, each party is responsible for their own costs.


       Submitted this the 5th day of December, 2016.

By:    /s/ Eric A. Montgomery                                By: /s/ Molly M. Shah
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Attorney for Plaintiff                                       Attorney for Defendant
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      Case 3:15-cv-00628-RJC-DSC Document 16 Filed 12/05/16 Page 1 of 2
                                  CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on December 5, 2016, he served a copy of

the attached JOINT STIPULATION OF VOLUNTARY DISMISSAL by electronically filing

the foregoing action with the Clerk of Court using CM/ECF, which caused it to be delivered to

Defendant’s attorney of record:

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       Molly M. Shah, NC Bar No. 40275
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                                       By: /s/ Eric A. Montgomery
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                                              2

      Case 3:15-cv-00628-RJC-DSC Document 16 Filed 12/05/16 Page 2 of 2
